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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                    Case No. 2:23-cv-00745-NR

 PREPARED FOOD PHOTOS, INC. f/k/a
 ADLIFE MARKETING &
 COMMUNICATIONS CO., INC.,

        Plaintiff,

 v.

 SY’S PIZZA & SUB SHOP, LLC,

        Defendant.


                             MOTION FOR CLERK’S DEFAULT

       Plaintiff Prepared Food Photos, Inc. f/k/a Adlife Marketing & Communications Co., Inc.

(“Plaintiff”), by and through undersigned counsel and pursuant to Fed. R. Civ. P. 55, hereby moves

for entry of a default by the Clerk against defendant Sy’s Pizza & Sub Shop, LLC (“Defendant”),

and in support thereof states as follows:

       1.      On May 5, 2023, Plaintiff filed its Complaint in this action.

       2.      On May 25, 2023, Defendant was served with a copy of the Summons and

Complaint in this action. See D.E. 8.

       3.      Defendant’s response/answer to the Complaint was due on June 15, 2023.

       4.      As the docket in this action reveals, Defendant failed to file any Answer or

otherwise respond to the Complaint as required by the Court.

       5.      Attached to this Motion as Exhibit “A” is a proposed default for entry by the Clerk.

       WHEREFORE, Plaintiff respectfully requests that the Clerk enter a default against

Defendant and for such other and further relief as the Court deems proper under the circumstances.


                                           COPYCAT LEGAL PLLC
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Dated: June 21, 2023.                                COPYCAT LEGAL PLLC
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                                                     Telephone: (877) 437-6228
                                                     dan@copycatlegal.com

                                                     By: /s/_Daniel DeSouza____
                                                             Daniel DeSouza, Esq.



                              CERTIFICATE OF SERVICE

       I hereby certify that on June 21, 2023, I electronically filed the foregoing document with

the Clerk of the Court using CM/ECF, which will electronically serve all counsel of record.


                                                  /s/ Daniel DeSouza ___
                                                  Daniel DeSouza, Esq.




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                             EXHIBIT “A”
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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                  Case No. 2:23-cv-00745-NR

 PREPARED FOOD PHOTOS, INC. f/k/a
 ADLIFE MARKETING &
 COMMUNICATIONS CO., INC.,

        Plaintiff,

 v.

 SY’S PIZZA & SUB SHOP, LLC,

        Defendant.


                                           DEFAULT

       A Default is hereby entered in this action against defendant Sy’s Pizza & Sub Shop, LLC

for failure to serve or file an Answer or otherwise respond to the Complaint as required by law.


       Dated this _____ day of __________, 2023.


                                             Clerk of Courts



                                             By:_______________________________________
                                                   Deputy Clerk
